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explained by the translator as "incites/provokes”" and in the
context of as an Imam would “call”.

FILIPINOS IN AFGHANISTAN CAMPS
(NET) and JD 2 Filipinos who were present
at Khalden. was a trainer and had experience in Chechnya and
Tajikistan. No further information.
CHINESE PRESENCE IN _ AFGHANISTAN CAMPS
RESSAM stated he had specifically observed Chinese
individuals at camps in Afghanistan. No further information.

KURDS AND THE KURDISH CAMP

Unlike Khalden and Deronta, the trainers and cadre at the
Kurdish camp are stationary. The focus of the Kurds is to go back to
Turkey and conduct operations, as opposed to fighting in Iraq.

RESSAM'S DEPARTURE FROM CANADA AND HIS MATRICULATION THROUGH THE CAMPS.

MARCH 1998 - FEBRUARY 1999
(a.K.a. eld a group meeting at

RESSAM's Malicorne apartment Co encourage a group of young men to attend
jihad training in Afghanistan.

a. a. ;. spoke at the mosque in Montréal,

encouraging young men to participate in jihad training.

CANADA TO PAKISTAN:

   

      

RESSAM expressed his i iz attend
J Praining with a view to fighting agains né government in Algeria.
telephoned Pakistan and prepared RESSAM's way to the camp.

gave RESSAM the telephone number for ABOU ZOUBEIDA.

 

fore departing for Pakistan/Afghanistan, RESSAM,
and spent
the evening together. urchased pizzas for the group and drove

a 2x: RESSAM to the bus station in Montréal.

a: RESSAM traveled by bus from Montréal to Toronto.
They spent e night in a hotel and RESSAM departed the next day from
Toronto to Karachi, via Frankfurt, Germany and Dubai, United Arabs
Emirates (UAE).

   

RESSAM opted not to fly out of Montréal's airports because
RESSAM was worried that he would be observed by the Pra l

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RESSAM arrived in Frankfurt and waited at the airport for
approximately 5 hours, never leaving the airport or visiting anyone
at the airport. RESSAM made two telephone calls: one phone call to his
parents and one phone call to nena in which he left a message
on the answering machine.

RESSAM did go out of the passport control zone at the airport

and had to re-enter it prior to catching his connecting flight’ to Dubai
and Karachi.

Once in Karachi, RESSAM spent one night at an unknown hotel
and telephoned ABOU ZOUBEIDA the morning after his arrival. This was
the first time RESSAM spoke with ABOU ZOUBEIDA. ABOU ZOUBEIDA instructed
RESSAM to fly from Karachi to Islamabad.

In Islamabad, RESSAM went to another unknown hotel. He
telephoned ABOU ZOUBEIDA the next morning. ABOU ZOUBEIDA was in
Islamabad and asked RESSAM to call him later that evening.

RESSAM called ABOU ZOUBEIDA that evening and ABOU ZOUBEIDA
asked RESSAM for the address of the hotel, and told RESSAM that ABOU
ZCUBEIDA would meet him that evening in the reception area of the hotel.

One half-hour later, ABOU ZOUBEIDA,
and a Pakistani doctor (NFI) arrived at RESSAM's hotel and took RESSAM
by car to ABOU ZOUBEIDA's guest house where they stayed for the night.

The next morning, RESSAM traveled by bus to Peshawar. Once
in Peshawar, RESSAM took a taxi to an unknown pizzeria on the second
Fleer GE a building: lar aero ss met RESSAM, and RESSAM went
to ABOU ZOUBEIDA's guest house in Peshawar. The next morning, ABOU
ZOUBEIDA visited the guest house.

At the Peshawar guest house, RESSAM met other young men.
RESSAM was given Afghani clothing and RESSAM's belongings were placed
in a storage area. RESSAM arrived with approximately $1000 U.S. that
RESSAM obtained prior to leaving Canada by pickpocketing. RESSAM had
exchanged the stolen money into U.S. currency.

RESSAM and the other young men remained at the guest house
for two to three weeks, allowing their beards to grow and preparing
to enter Afghanistan. The men were instructed not to speak with anyone.

At the Peshawar guest house, RESSAM met the following
individuals:

 
 
 
 
 

NFI
- Algerian; member of Algerian

Jama'al; injured from mortar training accident in which he lost his
hands; convalescing at the house.

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Po ac. a. Tajikistan; member of Tajik

Jama'al);_severe injury to his heel from same mortar training accident
in which was injured, now limps.

- Tajikistan; injured from hand grenade
shrapnel, convalescing at the guest house.

aa. Saudi; attended USAMA BIN LADEN (UBL) camp - either
Faroug or Siddigq.

  
 

- Saudi; attended UBL camp - either Faroug or

Siddiq; resides in Great Britain.

a. Saudi; attended UBL camp either Faroug or Siddig;
left for the United States to join his brother who is a student studying

at an unknown American university.

a Algerian; security officer for ABOU
ZOUBEIDA at the Peshawar guest house; 'softly' interrogates newarrivals

and goes through their belongings; one of the individuals for whom ABOU

ZOUBEIDA asked RESSAM to in fraudulently obtained genuine Canadian
passport so that ee ABOU ZOUBEIDA could travel
to the United States to conduct a terrorist attack.

- se OU ZCUBEKIDA at the
Peshawar ques ouse; e same in Afghanistan.

UNKNOWN - Saudi; new arrival from Great Britain; went to train
under ABU KHABAB's tutelage for manufacturing chemicals and explosives.

 

 

 

 

While at the Peshawar guest house, the residents would sit
in a circle in th mornings for class. During these sessions, the
residents would talk and share about why they had come for jihad
training.

ae... elicit intelligence from the
residents, asking about the Islamic movement back in the countries from

which they came. The residents were not required to sign any documents
or pledge allegiance to any person. Nor were they required to pay any
money at the house.

PAKISTAN TO AFGHANISTAN:

 

There are two ways to enter Afghanistan; go with a crowd and
push through with them or go through the mountains. Pakistani
authorities at the border are suspicious of persons leaving, so RESSAM
chose to go over the mountains.

An AFGHANI came to get RESSAM and the UNKNOWN Saudi from
Britain. They were driven from Peshawar to the border in a pick-up/van

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type cargo truck at night. They passed some check points
and gave 'bakshish' (translated as small bribe money) to authorities.
They continued to a small unknown tribal village on the border where
they spent the night in a house.

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The next morning they climbed a mountain road on foot (still
on the Pakistani side) until they had passed two or three mountains.
They looked down and could see the border of Torkhum in the valley below.

Their route allowed them to circumvent inspection leaving
Pakistan and they only had to enter Afghanistan through the gate at
Torkhum.

Once in Afghanistan, they boarded a motorcy Ldecar,
and motored to Jalalabad. In Jalalabad, RESSAM met a
Palestinian and oe al at ABOU ZOUBEIDA's Jalalabad gues ouse.

The Jalalabad guest house had four sleeping areas upstairs,
a kitchen, an office, a suite for the person who ran the house, and

an inside garage. The house could handle between 20-30 individuals and
1s described as very large.

At the Jalalabad guest house, RESSAM met the following
individuals:

Se - from Frankfurt, Germany; resting between

training at the camps.

ae, member of RESSAM's cell; a .-: 5: at
2 orme

diq camp; while a member of RESSAM's c at Khalden,
in with RESSAM's cell at Khalden.
Algerian; resting between training at the camps;

 
 
 
 

UBL's Sid

     
 
  

NFL.
RESSAM and the UNKNOWN Saudi from Great Britain separated

and the UNKNOWN Saudi went to aS explosives training, and

RESSAM was taken to Khwost by an Afghani.

KHALDEN CAMP

In the City of Khwost, RESSAM proceeded to a large mosque
supported financially by USAMA BIN LADEN. Then RESS to the

food store of an Afghani. At the store, RESSAM met Emir
of Khalden Camp. Nias eee was purchasing food supplies to take to

the camps.
a «=<: RESSAM how RESSAM was feeling,
a ow _RESSAM's ane had a so far, and asked how

and were doing.

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Reception at Khalden:

| took RESSA) aidan Camp, where they
entered unchallenged as they were a vehicle. They
proceeded to an administration building located near the physical center
of the camp.

Upon entering, RESSAM's belongings were searched for
contraband such as cameras and recording devices or other such
"detective devices".

Rules at Khalden:

RESSAM was given a written list of rules and conditions of
he cam such as obeying and listening to the trainers and the Emir
These rules applied to conduct both within and outside the

camp.

Accommodations at Khalden:

RESSAM was housed in a shared compartment; several
individuals were housed as in barracks with their mattresses on the
floor. Some of the barracks were stone buildings, and others were large
tents. Housing assignments in the barracks were mixed; cell members
were not housed according to cell membership.

The tents housed five to six (5-6) individuals while the stone
barracks housed about eight (8) individuals. There were approximately
four tents and four barracks, housing an approximate total of sixty-two
(62) individuals.

RESSAM had previously indicated that the camp population
ranged from sixty to one-hundred and ten (60-110) individuals, depending
on the matriculation of trainees in and out of the camp.

Each morning they were called to prayer as the sun rose. They
would then gather g Ie main courtyard in formation separated by
sessions/classes. ee led the formation and attendance would
be taken.

After formation, each session would separate and head to their
designated training and their respective training areas for the day.
Physical fitness training occurred each day.

Training was held Saturday through Thursday. After Friday
morning prayer, trainees were allowed to relax, but were not allowed
to leave the camp to go to town unless given permission by the Emir.
Tits Was rately requested and rarely authorized if requested.

Weapons Training at Khalden:

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a. ae the Jordanian cell taught weapons
training on the following weapons: AK-47 (7.62mm) assault rifle; Simonov
(7.62mm) rifle for sniper training and single firing, magazine held
about six rounds; PK Machine Gun wherein RESSAM learned to change the

barrels as one would become overheated; BPG anti-tank qrenade launcher;
and various pistols.

Weapons training lasted about one month. RESSAM stated that
he did not gain great proficiency in marksmanship.

The camp received their military supplies, such as RPGs and
ammunition, from the Taliban.

General Explosives at Khalden:

RESSAM next learned about explosives from a Tunisian
trainer from the Tunisian Group/Cell. RESSAM trained with TINT and C4
plastic explosives.

RESSAM trained for one month, learning how to make shape
charges with C4 for different purposes such as entering buildings or
cutting metal pipes.

Training materials also included CORTEX detonation cord,
booby traps, techniques to penetrate metal and steel, hand grenades,
placing C4 explosives in series with detonation cord, and including
shrapnel in explosive devices.

RESSAM trained with Italian made anti-personnel and anti-tank
mines, mine emplacement and mine removal (both mines with pressure
plates and those with toggle sticks placed intall grass with trip wire).
These mines were supplied by the Taliban.

RESSAM also learned how to place peroxide and acetone in light
bulbs by drilling tiny holes through the glass, inserting via syringe
the peroxide and acetone, then covering the hole with gum.

Trainees were taught tactics and terrorist applications of
placing explosives on the following targets:

-near gas tanks on vehicles such as buses;

-identification of the mostly aluminum and plastic
structure of aircraft and location of their gas tanks;

-blowing up railroad tracks;

-examining schematic diagrams of turbines at electric
generating stations and gas facilities for the best placement of
an explosive device;

-buildings where statistics or records are stored;

-vulnerable areas on warships and tanks;

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-using pagers to send an electric pulse to initiate
detonation of a device, then call the pager to initiate;

-use of magnetic attachment of a bomb to a target's frame

or gas tank.

RESSAM was taught to camouflage the device so that it is not
discovered before the desired time of detonation.

Tactics at Khalden:

RESSAM next learned military op 1 in urban terrain also
called city fighting. This was taught by the Palestinian. The
group broke down to 15 man teams and they practiced operations in city

Fighting:

The trainer would go with them and correct and critique their
actions. Students learned rappelling and the use of light weapons to
enter and clear buildings.

Also trained was the use of heavy weapons against the cities.
This included a "fire and forget" style weapon that RESSAM referred
to as an "IBM". This weapon would be aimed first, then fired without
any ability to correct. RESSAM described a device similar to a Multiple
Launch Rocket System (MLRS) wherein missiles in a box fire in sequence
out of the housing unit towards the pre-aimed target.

Also taught in the tactics session were security issues such
as passwords, codewords and that the use of religious terminology should
be discouraged in case of wiretaps.

Students were discouraged from attending or going to mosques
in case they would be surveilled entering by authorities. Similarly,
trainees were told not to be involved in Islamic parties, politics nor
should they frequent Islamic centers.

RESSAM was trained how to plan an operation in terms of
reconnaissance of the target, filming the target, identifying
surveillance and security personnel such as those at embassies, airports,
and military bases. RESSAM was instructed that using non-Arab looking
individuals dressed in business attire is an important aspect when
conducting surveillances against targets such as embassies.

The operations were taught by theory and by discussing
examples of past operations that were either successful or ended in
failure, and why those operations succeeded or failed.

Examples given at the camp were the assassination of former
Egyptian President ANWAR SADAT and the foiled assassination attempt

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of Egyptian President HASNI MUBAREK; and the PLO kidnaping
of Israeli athletes at the Olympics.

RESSAM stated that the attempted assassination of President
MUBAREK failed because of a well-known systemic malfunction of the
AK-47.

Another example of a successful operation was the bombing
of the United States Marine barracks in Beirut, Lebanon.

RESSAM and the other trainees were instructed in how to
evaluate media reporting to analyze the effectiveness of their terrorist
attacks such as in the attempted assassination of the Syrian President,
wherein the President wasn't killed and the plot failed.

In assassination operations, two cells will be activated to
complete the mission, but each cell will operate independently and
unaware of the other cell. This will prevent the disclosure of the other
cell should one cell be compromised and interrogated by authorities.

Within the cell, only those members actually involved and
having a need to know will be briefed on the operation. Their information
will be limited to what they need to know to accomplish their portion
of the operation...

Suicide Missions:

affiliated with the EIJ (Egyptian Islamic
Jihad), strongly encouraged suicide missions to the young men at the
Khalden camp, citing Islamic references.

Weekly Meetings of RESSAM's Cell:

who was killed by the Taliban in September, 1999,
was involved in the formation of RESSAM's cell at Khalden. Based on
RESSAM's explanation, it appears that the formation of the cell appears
to be partly dependent upon the timing of different trainees as they
arrive for their séssitons in Aftghahistan.

On Fridays, during the day for resting, the cells get together
and would speak of problems in Algeria, how to make contacts in Algeria,
ways to build cells in Europe, various operations, and how to raise
money to support jihad.

RESSAM'S Selection for Explosives Manufacturing:
After tactics training, RESSAM remained at Khalden until

ready to leave for explosives manufacturing training. Based on the
recommendations from RESSAM's peers and cell members, BEN SHEIKH

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prepared a letter for RESSAM to attend chemical and explosives
manufacturing training and provided the financing for RESSAM's
training.

BEN SHEIKH did not provide the money out of his own pocket,
but authorized the use of funds received from worldwide Muslim
donations.

The money doesn't pay tuition, as suc Is given to the
married men who run the camps. At Deronta Camp, hs given
the money for two purposes: one fund is to help with his family and

a second fund to keep the camp maintained and equipped.

RURDISH CAMP

RESSAM left Khalden in September, 1998 and went to ABOU
ZOUBEIDA's guest house in Jalalabad. From there, RESSAM waited for the

Kurds to take RESSAM to the Kurdish Camp to learn explosi
manufacturing. Also in September, 1998, RESSAM knew that rs

left for Kandahar to meet with USAMA BIN LADEN.

Upon arriving at the Kurdish Camp, RESSAM learned that the
manufacturing course RESSAM wanted to take was not available due to
a limited number of trainers. RESSAM spent two and one-half weeks (22)
at the Kurdish Camp training with pistols.

At the Kurdish Camp, RESSAM learned that the emir of the Kurds
was in Turkey, and met the following individuals:

— in charg amp .
— Not the in London; no
urther information.

—_no further information.
- no further information.
Across a stream from the Rurdish Camp w
was still in the process of being established by

DERONTA CAMP

At the end of September or the beginning of Oct
ed to ABOU ZOUBEIDA's guest house in Jalalabad.
people from Deronta Camp came to Jalalabad to take RESSAM
to Deronta Camp.

RESSAM explained that RESSAM's letter from ABOU ZOUBEIDA
authorizing him to take explosives manufacturing was still valid, as

the Kurds could not tr*ain him at their camp.

Deronta Staff:

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as

The staff at Deronta included

— met another student, —— who trained under

(NFI}; and
the son of

 

Deronta Studies:

RESSAM’s instruction lasted 40 days. RESSAM learned
electronics and security 1S5sues, studied gunpowder, and made more
lightbulb bombs such as the acetone/peroxide devices he first learned
at Khalden and chemicals.

Chemicals/explosives (igniters/encouragers) :

RESSAM’s chemical training included "igniting" chemicals,

described by RESSAM as lead nitrate, silver nitrate, and mercury nitrate.
RESSAM then listed what he described as "encouraging" chemicals:
peroxide/acetone, hexamine, peroxides, RDX, “titrai", and "Ccabritic".
Alcohol compounds:

RESSAM also studied the following alcohol compounds: nitric
glycol, nitroglycerine, nitrobenzene, nitro starch, satolite,
hedrazine.

Explosives:

RESSAM also experimented with ITNT, urea, aluminum powder,
aluminum sulphate, and ammonium nitrate. RESSAM stated at this point
in the interview that he was unable to find ammonium nitrate at the
fertilizer stores in Canada.

Formula:

RESSAM provided the following equation for the mixture he
would best have wanted to make:

(46g urea + 4g Al) + (46g nitrated ammonium + 4g Al)

RESSAM further stated that the aluminum powder would have
been concentrated with peroxide, but at present, RESSAM does not
remember the formuia for that process.
Toxins/chem/bio:

At Deronta, RESSAM also studied pcison such as cyanide and

conducted numerous experiments with it in gaseous and liguid form;
either gassing degs or injecting dogs with cyanide.

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RESSAM was unfamiliar with anthrax.
Secret inks:

RESSAM also studied secret, invisible inks "in theory". These
inks require the application of chemicals or heat to uncover the
invisible writing. These inks are used now inside of books that are

mailed back and forth among many members of "Jama'‘al".

Letter from ae to RESSAM at Deronta:

Towards the > training at Deronta,
ived a letter from informing RESSAM that and
aE es: getting ready to leave Afhganistan.

I ae requested RESSAM to be part of the cell
and to visit andi lor to their departure from Afghanistan.
However, ABO OUBEID Bot allow RESSAM to leave Deronta for such

a visit.

RESSAM'S CELL MEETING IN JALALABAD - DECEMBER, 1998

After his training in Deron iSSAM Tapia sce ABOU
ZOUBEIDA's guest house in Jalalabad. rented =
Jalalabad and brought together RESSAM, “|

RESSAM (with a. discussed the sequencing
of the cell members' travel into Canada. eae celi arriy hree

    

"waves". The first wave would b arrival of nd
second wave would be a and AHMED RESSAM.
would come some time later as the third wave.

The plan was that upon arriving in Canada, the cell would
set up a safehouse, then embark on a series of operations such as armed
bank robberies to finance their terrorist attack, similar to how the
ROUBAIX GANG operated in Paris, France.

Also discussed at this meeting was the type of terrorist
attack to be carried out within the United States. They discussed
targets such as an unnamed airport, unnamed military base, unnamed
government building, and the Israeli Embassy as opposed to Israeli
consulates.

RESSAM, an es decided the attack should take
place inside the United States. The plan was not limited at this time
by geographical locations such as the west or east coast, the Midwestern,
southwestern or southern region of the United States. The attack should,
however, coincide with the new millennium.

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RESSAM, and agreed that the members of the
cell must always remain in contact with one another, and that upon
successful completion of the terrorist attack, they would all head to
Algeria and regroup.

RESSAM is certain chat i. London, Englan =
5 Issues discussed at this meeting. RESSAM stated that
ow cells

= are "interwoven". knows
would share the details with

   

operate and

RESSAM explained to. RESSAM planned a terrorist
attack in the United States. It was not a; place to approve
or disapprove ration. RESSAM explained that cells operate
independently. £8 @ facilitataer.

RESSAM further explained that a s role is to facilitate
the needs of cells in terms of training and coordinating their safe
movement across borders and in safehouses.

TUNISIAN CELL

RESSAM stated that the membership of the Tunisian cell (some
names of the members were previously reported) is very numerous and
should not be underestimated.

NEXT POSSIBLE TERRORIST ATTACK

RESSAM believes the next terrorist attack will most likely
occur in either Spain or France, targeting either American or Israeli
embassies. RESSAM believes these are viable, credible targets in these
particular countries because of the proximity of the Algerian, Tunisian
and Moroccan cells, and because of their numbers.

ABOU ZOUBEIDA'S THREAT TO LEAD A TERRORIST ATTACK ON U.S. SOIL

In December, 1998, ABOU ZOUBEIDA informed RESSAM that ABOU
ZOUBEIDA wanted RESSAM to acquire fraudulently obtained genuine
Canadian passports (passports similar to RESSAM's Canadian passport
in the name of BENNI ANTOINE NORIS) for the following individuals:

ABOU_ZOUBEIDA

 

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ABOU ZOUBEIDA informed RESSAM that ABOU ZOUBBKIDA wanted to
bring this team to the United States and commit a terrorist attack
("operation"), possibly several bombings in several cities.

ABOU ZOUBEIDA explained to RESSAM that “it is good to do this
type of operation, even if it takes a year or more - as long as it is

successful.”

The goal for this a WwOu) e to influence the American
government to release SHEIKH the BLIND SHEIKH.

RESSAM did not tell ABOU ZOUBEIDA that RESSAM's cell was
planning an operation in the United States.

ES | vowrréar, canava

Toward the_end of the interview,

an individual named a.k.a.
in Afghanistan.

 

RESSAM stated RESSAM met
while

RESSAI M stated that this individual is approximately _ years
‘ al. RESSAM believes that

is a name that eT be

 
    
 

recognized

 

KNOWN TERRORISTS FROM KHALDEN CAMP PRESENT IN THE UNITED STATES

RESSAM, to his knowledge, is unaware of the presence in the

United States of any trainees fromAfghanistan training camps, including
Siddig, Farouq, Khalden or Deronta, except cor

i... identified previously as a Saudi who attended
Siddig and was en route to the United States to visit his UNIDENTIFIED

brother who attend an UNIDENTIFIED American university.

Ressam.008

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ZAYN HUSAYN,
Petitioner,
v Civil Action No, 08-1360 (RWR)

ROBERT GATES,

Respondent,

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Ressam 302 6/12/2001

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each ¢
Futhermore,
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RESSAM had numerous conversations with ABU ZUBAIDA
throughout 1999. They discussed several "operations®, including
the bombings of the U. §S. embassies in East Africa. ABU ZUBAIDA
had newspaper articles collected about the bombings. ABU ZUBAIDA
told RESSAM that he supported the idea of conducting operations in
the United States (US) or against U.S. targets.

ABU ZUBAIDA and RESSAM only spoke in “general” terms about
the his (RESSAM=s) operation in the U. S. ABU ZUBAIDA advised RESSAM
to plan an operation slowly and take it step by step. In 1999, when
RESSAM finished training in Afghanistan, he considered the US his
enemy.

ABU ZUBAIDA used a cordless telephone to communicate.
The telephone he used was activated by using a card, similar to a
credit card. RESSAM indicated that ABU ZUBAIDA's telephone was coded
and worked only while he was in Pakistan.

RESSAM was unaware if ABU ZUBAIDA used a computer to
communicate with other mujahadin. RESSAM never saw a computer while
he resided at ABU ZUBAIDA's Peshawar guesthouse,

RESSAM commented that a AFatwa@ was an order of a directive.
He did not believe that just any Muslim can understand and interpret
the Quran. So, it requires someone knowledgeable to interpret the
Quran and put it into words that all can understand. RESSAM added

that UBL was someone with enough knowledge to interpret 3
and issue Fatwas. Also, oT i a_ fon,

who taught religion at the camps, was also Knowledgeable enough to
interpret the Quran and issue Fatwas.

RESSAM did not pledge Abayat@ (loyalty or allegiance) to
UBL or ABU ZUBAIDA. RESSAM did pledge Abayat® to the Algerian group
he trained with.

Regarding the attack on the USS Cole, RESSAM had no specific
information to proffer. However; RESSAM knew that the Yemeni group
who were training at the Khalden camp were very excited about
returning to Yemen for an operation. The Yemeni=s at Khalden were
not specific about what the target of their operation was. The Yemeni
cell was still in training in Afghanistan when RESSAM 5 j
RESSAM knew some of the individuals in the Yemeni cell as :

and | All the individuals in training use

aliases, so, RESSAM was unaware of any other names the Yemeni=s used.

Regarding ABU ZUBAIDA's knowledge of the USS Cole attack,
RESSAM did mot think ABU ZUBAIDA had specific knowledge. ABU ZUBAIDA

knew there would be an operation in Yemen using explosives;

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the attackhmed Ressam 06/12/2001 6

RESSAM advised that ABU ZUBAIDA was responsible for the
training of the cell in Jordan. The Jordanian cell plotted an
operation in Jordan during the 2000 New Year=s celebration. RESSAM
advised that ABU ZUBAIDA might have had some input into how the
operation in Jordan would be carried out and what target(s) might
be selected. RESSAM did not think that ABU ZUBAIDA had any specific
knowledge of other operations.

According to RESSAM, there are four options individuals
have when training is completed. First, remain in Afghanistan and
fight Jihad against opposition forces. Second, travel to Chechnya
and wage Jihad. Third, return to their home country to wage Jihad.
And, fourth, travel to a “high profile" country, like the U.S. or
the U.K. to plan an operation.

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ZAYN HUSAYN,
Petitioner,
v Civil Action No. 08-1360 (RWR)

ROBERT GATES,

Respondent

Ressam 302 6/13/2001

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06/17/01

AHMED RESSAM (RESSAM) was interviewed at the Federal

Detention Center in Seatac, Washington. Also present the
: iene Wee Assistant United States Atto 7
Arabic craneiaccr MMII a cerv ten was conducted in

the Arabic language wit Serving as a translator

After being advised of the identity of all the individuals
present at the interview, and advised of the purpose of the
interview, RESSAM provided the following information

RESSAM was shown an investigative photo book and asked
to identify any photographs he recognized, and provide all
information relating to that person:

and Number Be identified as USAMA BIN LADEN (UBL), and

photograph number as ABU ZUBAIDA. RESSAM indicated the last

time he saw ABU ZUBAIDA he was clean-shaven. ABU ZUBAIDA usually
has a £ull beard or a goatee

RESSAM ii: ce two of the photographs, numbers

ABU ZUBAIDA was a well built and styled his hair pushed
back away from his face. Sometimes ABU ZUBAIDA styled his hair
longer "like Jamacian" ABU ZUBAIDA always wore glasses

RESSAM last saw ABU ZUBAIDA on April 7, 1999 after
completing his training. RESSAM last spoke with ABU ZUIBAIDA via
telephone from Canada during the summer of 1999. During
telephone conversations with ABU ZUBAIDA, RESSAM referred to
himself as NABIL; his operational name. RESSAM referred to ABU
ZUBAIDA as TAREK. RESSAM never referred to ASU ZUBAIDA as
anything but TAREK. RESSAM called ABU ZUBAIDA to see how he was
doing and to see if he needed anything. RESSAM did not discuss
his own operation with ABU ZUBAIDA over the phone RESSAM felt
obligated to see how ABU ZUBAIDA was doing since he lived at his

guest house in Peshawar

During telephone conversations with ABU ZUBAIDA, RESSAM
used code words to refer to certain items. For example,
passports were referred to as “books" or "precious things" An
explosive devise Was referred to as dessert or a sweet. RESSAM
said the phrase, “Are you making cookies?“ was a coded reference
06/13/2001 Seattle, Washington

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ee RESSAM said "shoe6/i8éZeered to 2
someone going to Afghanistan for Jihad. RESSAM provided the

following examples ef coded phrases which referred to training:
".,.. do you want to play football?"... “do you have your shoes
ready?... "... let the prisoners be released..."

Using codewords and coded phrases was taught at Khalden
camp. For example, mujahadin who were in trouble or arrested
were referred to as “sick” or as being “in the hospital.“ Money
Was referred to as “Kabia" which is a North African dish, RESSAM
did not recall code words or coded phrases for operations
targeting the US or France. However, RESSAM advised that going
to fight Jihad in Algeria was referred to as “playing with
balleons.” Afghanistan was sometimes referred to as Canada,
instead.

Other code words were female names which might be
included in letters. For example, a letter might be addressed to
a female but the actual letter would be written using true
operational names. The female names used for the address was
pre-determined by the individual writing the letter. If there
was an operational reason to use code names inside the letter,
the code names were determined in advance before the letter was
written.

RESSAM advised that so far as he knew there were no
religious or prohibitions to use a women in an operation. RESSAM
added that he did not plan to use a woman for his own operation.

According to RESSAM, women are good to use for an operation,
since security forces and intelligence agencies tend not to look
at women suspicicusly.

Discussing operations inside a mosque or Using
religious phrases to communicate the plans of an operation were
discouraged, These kind of tactics were considered unholy.

During his training in Afghanistan, RESSAM had no
instruction on how to handle an interrogation. Trainees were
inatructed on how to avoid being appeased or intimidated by the
enemy into divulging operational details, targets and cell
members names.

RESSAM indicated there are many safehouses/questhouses
for mujahadin fighters in Afghanistan and Pakistan. RESSAM was
unaware of the specific locations of these guesthouses, including
ABU ZUBAIDA'S.

RESSAM advised that Po (ph) manages ABU
ZUBAIDA's g n Peshawar, Pakistan. At ABU ZUBAIDA's
direction, | Gaetan false travel documents or altered

travel docu : SSAM did not know the identities ft
individual(s) who actually altered the documents. a
altered documents which made it look as if one had been in

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like one had been a student in Pakistan

RESSAM advised there was an individual, Sa

in Peshawar, Pakistan who was the liaison between ABU
ZUBAIDA and the Pakistani Intelligence Service Son was

unaware of Pakistani intelligence service liaised
with, but ee pay bribes for ABU ZUBAIDA to help gain the
release of any “brothers® who were in jail or otherwise in
trouble.

RESSAM was not aware if any of the Aigerian groups had
penetrated the Algerian Intelligence Services.

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ZAYN HUSAYN,
Petitioner,
Vv. Civil Action No. 08-1360 (RWR)

ROBERT GATES,

Respondent.

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Ressam 302 8/3/2001

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ZAYN HUSAYN,
Petitioner,
Vv. Civil Action No, 08-1360 (RWR)
ROBERT GATES,

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2001

MONTREAL, AUGUST, 1999:

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ZAYN HUSAYN,
Petitioner,
Vv. Civil Action No. 08-1360 (RWR)
ROBERT GATES,

Respondent.

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Ressam 302 9/12/2001

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Date of transenption

09/12/2001

On September 12, 2001, AHMED RESSAM was interviewed at the
Federal Detention Center located in Seatac, Washington. RESSAM was
advised of the identities of the interviewing agents and purpose of

the interview, ring the interys 2cistant Federal
Public Defender and translator . The interview
was conducted in Arabic, RESSAM then provided the following information:
stor to the interview, RESSAM was briefed by his attorney,

, regarding the ramming attacks on the World Trade Center

in New York City and the Pentagon in Washington D.C. by hijacked
commercial jet aircraft.

RESSAM stated that he did not have any prior knowledge of
the attacks on the World Trade Center and the Pentagon. RESSAM further
stated that he doesn't have any specific knowledge regarding the
attacks.

Regarding prior statements made by RESSAM that airport
employees might be used in any attack on airports, RESSAM stated that
he has no knowledge that airport employees were used in the attacks
on the World Trade Center and Pentagon. RESSAM did reiterate that if
airport employees were used in an operation against an airport, they
could be expected to provide whatever support was needed for the cell,
even procuring weapons. RESSAM also added that if airport employees
were used in an operation, that fact would be a closely held secret
within the cell.

Regarding any flight training that he was aware of or might
have received while at training camp, RESSAM stated that he was aware
of no flight training or aircraft systems training while at the camps
that he attended. While RESSAM was fairly certain that Abu Zubayda's
training camps did not have any type of flight training programs, RESSAM
could not say the same regarding Usama Bin Laden's training camps. RESSAM
explained that he has no knowledge regarding the relationship and
cooperation between Usama Bin Laden and the Taliban Government in
Afghanistan in regards to use of flight training programs.

While RESSAM had no prior knowledge of the attacks on the
World Trade Center and the Pentagon, RESSAM stated that the attacks

could have been a coordinated operation by Abu Zubayda and Usama Bin
Laden. RESSAM emphasized that the individuals attending the training

9/12/2001 Seatac, Washington

9/12/2001

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camps are very dedicated and very technically trained
individuals capable of executing complicated operations. RESSAM then
added that many of the trainees at the camps are former military officers
with a high degree of technical knowledge. —

RESSAM then denied knowing any brethren living in Canada that
have received flight training of any kind.

RESSAM also did not recall any courses having to do with
hijacking aircraft while attending training camps in Afghanistan.
RESSAM did say that his explosives training could be used against
aircraft but did not involve hijacking the aircraft; although, hijacking
could always be an option,

RESSAM then recalled a conversation with Abu Zubayda where
Zubayda expressed an idea regarding attacking the United States. This
conversation occurred while RESSAM was at training camp. According to
RESSAM, Abu Zubayda's idea involved using multiple cells operating
independently in the United States that could execute ten (10)
operations simultaneously or in sequence that would produce a big impact
on the United States. RESSAM reiterated that this was only an idea
expressed by Abu Zubayda and was not an actual plan to the best of
RESSAM's knowledge. When asked if Abu Zubayda had the necessary people
positioned in the United States to carry out such as a plan, RESSAM
answered that Abu Zubayda has many contacts in the United States. RESSAM
then denied knowing any of Abu Zubayda's contacts in the United States.

At the conclusion of the interview, RESSAM stated that he
did recall one individual that visited the Khalden Training Camp that

Was an aircraft engineer. While RESSAM did not recall this individual's
name, RESSAM described him as an older male from Yemen that had become

religious. RESSAM then explained that the Yemenj the
trainees by the camp's religious instructor,

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ZAYN HUSAYN,
Petitioner,
y Civil Action No, 08-1360 (RWR)

ROBERT GATES,

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Ressam 302 10/18/2001

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to your agency; it and its contents are not to be distributed outside your agency.

Date of transcription

10/18/2001

On 10/18/2001, AHMED RESSAM was interviewed at the Federal

Detention Center in Seatac, Washington. Present for the interview were
Special Agents Pn and from the
Seattle Division of the Federal Bureau of Investigation. Also present
were Assista ic Defender Defense

| and Arabic i The

interview was conducted in Arabic.

   
    

RESSAM provided the following information:

FUEL TRUCK DELIVERY SYSTEMS FOR TERRORIST OPERATIONS:

 

RESSAM did not learn nor did he ever discuss using fuel tankers
as delivery systems for terrorist attacks while he was in Afghanistan
or Pakistan.

he only time RESSAM ever discussed such a plan was with f
— ee the idea to RESSAM of driving a fuel

tanker into a Jewish neighborhood of Montréal. recommended
the suburb of Outremont because there were a large number of Hasidic
Jews.

ISRAELI TARGETS IN GENERAL:

 

While targeting synagogues and churches was not specifically
discussed or targeted, instruction was given in the camps to target
"anything valuable, such as infrastructures and Jewish organizations
and businesses that provide funds to or collect funds for Israel."

For example, RESSAM provided the example of a
non-governmental organization (NGO) that would fulfil this roll. RESSAM
could not remember the names of such NGOs provided at the camp, but
was instructed at the camps that one could find them on the Internet
or through printed publications.

Tsraeli and American interests are equally viable.

SHOPPING MALLS:

10/18/2001 Seattle, Washington

10/18/2001

 

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No specific mention was made of targeting shopping malls,
however, any site of economic value is a viable target.

OIL SUPPLY DEPOTS IN THE UNITED STATES:

 

Oil storage facilities within the United States are
recommended sites for terrorist operations. The emphasis was on
destroying supplies of oil already within the United States.

Corporate headquarters for oil corporations are also viable
targets. RESSAM was asked whether that meant only companies such as
Exxon, Shell, and Texaco and replied that he meant all companies with
supply depots in the United States.

RESSAM stated that these oil corporations all have a link
to Israeli interests but could not explain how.

DAYS OF THE WEEK FOR ATTACKS:

 

RESSAM did not learn to focus on particular days of the week
for a terrorist operation, nor to differentiate a weekday from a weekend
by western standards (work week meaning Monday through Friday and
weekend meaning Saturday and Sunday) .

PHOTOGRAPHS OF THE MOST WANTED TERRORISTS:

 

RESSAM did not recognize any of the photographs from the
recently published Most Wanted Terrorist list except for USAMA BIN LADEN
and AYMAN AL—ZAWAHIRI, each of whom RESSAM has only seen in photographs,
never in person.

RESSAM does not know 1s true name, family name, or
other aliases. As of this date, is between 30-33 years of

age, born in Algeria (unknown city), 1S single, and RESSAM can only
speculate that is a high school graduate.

ae ::: resided in Algeria, Afghanistan, Great Britain,
and possibly uses a French passport. RESSAM opined | has a French
passport because most Algerians in Afghanistan

had either French or Italian passports. RESSAM never saw ae :
passport.

  

associates in the United Kingdom are fF
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AHMED RESSAM 10/18/2001 3
Other_associates of include
ABOU ZUBEYDA, at Khaldun Camp, and any of the other

people present at the camps and safehouses in Afghanistan and Pakistan.

had no distinguishing characteristics that RESSAM
recalled. "looked normal".

Biotoxins and Chemical Explosives:

was trained in biotoxins and chemical explosives
at Deronta, prior to RESSAM's attendance at Deronta and after RESSAM's
departure from Deronta.

was initially trained at Deronta and then returned
to learn newer techniques of manufacturing chemical explosives and to
improve the base of knowledge he gained during his first attendance.

RESSAM was unaware of a specific mission for which
was trained, nor did RESSAM know if any such mission would include the
use of biotoxins and chemicals. RESSAM did agree that PE 220
a large "toolbox" from which to draw, metaphorically meaning that
RE 22: lots of training from which he could plan an operation.

United Kingdom and Germany:

RESSAM is unsure whether TE ««cturned to the UK, but
the UK or Germany were very likely.

While American and Israeli targets anywhere are viable
targets, RESSAM was doubtful that any terrorist operations perpetrated

by Islamic militants would occur on British soil. However, U.S.
embassies, consulates and military bases in Germany were discussed.

As well, the Algerian cells were interested in targeting
French interests in addition to U.S. and Israeli interests.

RESSAM had no k whether MM returned to the UK,
but was confident that if did return to the UK, PE ould
head to London and his associate 5

If headed for Germany, EE ould likely seek
out SOUHIB. primarily communicates via telephone.

ABU ZUBEYDA:

RESSAM is unaware of any other names used by ABU ZUBEYDA other
than TAREQ/TAREK. RESSAM has never seen ABU ZUBEYDA's passport and

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FD-202oeh-PHt have any knowledge of it's origin. ABU ZUBEYDA is Palestinian

bn Continuation of FRM24ks with a Palestinian dialect.

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AHMED RESSAM 10/18/2001 4

RESSAM has no knowledge related to ABU ZUBEYDA residing in
or visiting the country of Algeria.

ABU ZUBEYDA has no maladies to RESSAM's knowledge, but RESSAM
opined that almost everyone has malaria. RESSAM was not sure whether
or not ABU ZUBEYDA has malaria.

ABU ZUBEYDA has no distinguishing characteristics, but RESSAM
understood ABU ZUBEYDA had suffered a head injury during the
Afghan-Soviet war. The injury is not visibly noticeable.

Family:

ABU ZUBEYDA's family resides in Saudi Arabia. ABU ZUBEYDA
is very religious and his family must be pious by the fact that they
reside in Saudi Arabia.

RESSAM does not know the location within Saudi Arabia in which
ABU ZUBEYDA's family resides, nor the names of family members, nor does
he know the vocations/professions of any of ABU ZUBEYDA's relatives
or their approximate ages. RESSAM has never met any of ABU ZUBEYDA's
relatives.

RESSAM's believes ABU ZUBEYDA's family is prosperous, but
does not know if ABU ZUBEYDA receives funds from familial origins.

Communications/Computers:

ABU ZUBEYDA communicates outside of the Pakistan/Afghan
region via telephone and the Internet. Within the Pakistan/Afghan region,
ABU ZUBEYDA uses letters and couriers.

ABU ZUBEYDA is computer literate and has spoken in front of
RESSAM about computers and beyond RESSAM's comprehension of computers.
RESSAM stated that ABU ZUBEYDA is "well-versed" regarding computers.

RESSAM reminded the interviewer that
had previously asked RESSAM to obtain a laptop for ABU ZUBEYDA. In
Montréal in December, 1999, [MAAMEMMMIMIMMY ana aumep RESSAM made
a failed attempt to purchase a laptop for ABU ZUBEYDA.

In th am ime frame, RESSAM later purchased a laptop in
Montréal from and turned it over to [i

who was sending it to ABU 4ZUBEYDA in Pakistan via a courier.

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AHMED RESSAM 10/18/2001 5

RESSAM was unaware whether ABU ZUBEYDA uses cybercafés, but
speculated that however ABU ZUBEYDA communicates through computers,
he most likely uses an encryption system.

Finances and Money Transfers:

ABU ZUBEYDA gives his account numbers to many individuals
so that they can deposit money in his account. ABU ZUBEYDA has the
accounts in the names of other individuals who withdraw funds for ABU
ZUBEYDA as needed and directed.

RE: Canadian Passports:

RESSAM believes that ABU ZUBEYDA's request to RESSAM for
genuine Canadian passports was for himself to travel tothe United States
and the four others previously identified.

Their purpose was to commit simultaneous terrorist attacks
on U.S. soil and then wait for a period of time (approximately three
to four months) when law enforcement would become complacent, then
Strike again.

No specific targets were listed other than to commit
simultaneous terrorist operations within unspecified U.S. cities. ABU
ZUBEYDA told RESSAM that "targets on U.S. soil are of more value than
American targets overseas."

RE: USAMA BIN LADEN's 1998 Fatwah:

RESSAM never heard ABU ZUBEYDA speak of USAMA BIN LADEN's
1998 fatwah against the United States.

RE: ABU ZUBEYDA's presence in the United States:

ABU ZUBEYDA was a student in the United States in the late
1980s. ABU ZUBEYDA is in contact with graduates of his training camps
who have entered the United States as students. According to RESSAM,
these individuals phone ABU ZUBEYDA frequently. One Saudi individual
was identified as a joined his unidentified brother who was
already a student at an unknown university in the United States.

RESSAM was unaware of ABU ZUBEYDA sending any pilots to the
United States or sending anyone to the United States to train as pilots.

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AHMED RESSAM 10/18/2001 6

  
 

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PG or any RM -esiding in the United States or Saudi

Arabia:

RESSAM did not recognize these names nor did he have any
information regarding these individuals.

ABU ZUBEYDA's contacts in the United Kingdom:

U Ms tacts include 7 imited to

 
 
  

and anyone else who's trained at his camps and that now resides
in the United Kingdom.

When RESSAM was with ABU ZUBEYDA, ABU ZUBEYDA's telephone
was always busy with people calling from the United Kingdom to provide
financial support as well as support through false documents and every
aspect of support.

RESSAM did not recognize any of these names nor could he
provide any information about them.

_ stated he knew a Pe 0 was an Algerian

in London:

(

ABU ZUBEYDA's role in directing or motivating terrorism:

ABU ZUBEYDA and the instruction at his camps were "of one
mind". There were no jihad acts or targets that were more important,
but there were different directions to which graduates were focused.

Some cells are focused for action on the Arabian Peninsula,
some cells in Europe, some cells such as Algerian-based cells are focused

against French interests, and RESSAM's cell was focused against the
American interests on U.S. soil.

Training camps within the United States:

RESSAM was unaware of ABU ZUBEYDA or anyone else planning
to or establishing training camps within the United States.

TERRORIST CONNECTIONS TO SPAIN:

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FD-302a (Rev. 10-6-95) RESSAM has never been in the country of Spain but believes
is Contmapon fF Aulently stated to Citizenship and Immigration Canada that he
age had been in Spain in his refugee application.

AHMED RESSAM 10/18/2001 7

RESSAM did not have much to provide in regards to terrorist
links in which he was involved that were connected to Spain.

Spain:

mooenn ataten tit i PE cos
members of his cell who were living in London in 1999, had
previously been in Spain prior to their training at Khalden.

in particular, had been in Spain in 1993 where
he robbed tourists. RESSAM could not be more_specific in terms of which
Spanish city. RESSAM was unaware whether GEE 2c been involved in
the illegal transportation of vehicles or movement of identification
documents at that time.

-. 2 xn 2tcen cam:

While RESSAM was at Khalde visited
RESSAM described as a Syrian

( ) and that he was over 40 years of age (in 1998) and
"tull-figured"..

  
   

is a veteran from the Afghan-Soviet War
and is entrusted with an unspecified "very high responsibility".

RESSAM stated that he came from outside t isit
and it could be inferred that because he met with he

must have an important position within the hierarchy.

any information regarding
MEME 3 cia ressaM

have any knowledge regarding routes of passage for Tunisian mujahidin
between Italy and Algeria or unknown individuals traveling to Spain
with the objective of handling false documents in connection with an
USAMA BIN LADEN support network.

Photographs ii .--- shown to AHMED RESSAM;
these photographs are marked and identified as photographs 168-601,
168-602, 168-603, and 168-604 and will be placed in an FD-340b envelope.
RESSAM did not recognize nor could he identify the individual depicted
in these photographs.

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ZAYN HUSAYN,
Petitioner,
Vv Civil Action No, 08-1360 (RWR)

ROBERT GATES,

Respondent

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via letters

 

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attack | d not provide RESSAM 6r FP with any

ABme@dthaceamr money for RESSAM=s planned terroribt/ae@t2001 li

 

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were.

Ahmed Ressam 11/28/2001 a
RESSAM was not n if the African ividual had a

contact wit i ney, however, based on what RESSAM

 

heard from

that the African individual had
a relationship 5

passport agency.

 
  

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RESSAM believed $6000 was a high price to pay
RESSAM had heard that ’ frican individual was
approximately §3000-$4000, but then increased the

 
   

 

RESSAM had no additional information per aan to
individuals who were providing false documents and sports in
Canada. RESSAM knew of no other individuals in cities other than
Montreal who could supply passports.

 

THEFT:

When questioned regarding engaging in chett, RESSAM stated

that sometimes he engaged in bhatt alene
in theft with friends
and . No one particular person
ef this group of people.

 
 
 

 

RESSAM engaged in theft in Montrea oy Toronto and Vancouver
and perhaps one time in Quebec City. Most of RESSAM=s thievery
occurred in Montreal and Vancouver.

 

 

RESSAM did not forward any of the money he obtained via
thievery to jihad related causes in Europe or any other region.
RESSAM spent his money by sending it to family members or
Friends/associates who were in meen oF money. This included people
in Algeria and Europe. When saying Ain need of money®, RESSAM meant

for personal needs and matters. RESS AM sent money on one occasion
toa either via mail or Western Union,

BANK ACCOUNTS/ FINANCE:

 

 

When RESSAM arrived in Canada upon his return fro
Afghanistan, he opened up a bank account at Royal Bank in R ich mond.

RESSAM also had a bank account in Montreal at Bank Montreal.

@ was no specific reason behind choosing Royal Bank

and Bank Mont

== a armiated RESSAM in opening up the
bank aceounts at koyal bank. RESSAM believed that either
or helped with opening up the c ount. RESSAM

believed, but was not certain, that only 1élped open up the
bus 5 i ness account

  
   

 

  

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RESSAM told that RESSAM catie back from Afghanistan
ime Saas AM had gone to Afghani c tr 1 1 Ay,

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f > 3 de c training to

 

      
       
  

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ZAYN HUSAYN,
Petitioner,
v. Civil Action No. 08-1360 (RWR)
ROBERT GATES,

Respondent,

 

Ressam 302 11/29/2001

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FEDERAL BUREAU OF INVESTIGATION

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to your agency; it and its contents are not to be distributed outside your agency.

Date of transcription

11/29/2001

On 11/29/2001, AHMED RESSAM was interviewed at the Federal
Bureau of Investigation's DE Field Office. Present for the

j ey Special agents DTT TT

| Also present was Defense Investigator

Assistant Fede Defender Ls Arabic
translator nae The interview was conducted in Arabic.

RESSAM was shown photographs XX1l through XxX27, but was not
able to identify any of the individuals by their photographs. RESSAM
was then asked whether he recognized the names of individuals in the
27 photographs, but was unable to recognize any by name except [RR
ME (photograph XX3).

identified the ABU ZOUBAIDH family name, but did not
know whether REID was ABU ZUBEYDA's brother. RESSAM did

ook ice at [I pp ctcoraph (x*x3) and opined that

looked similar to the ABU ZUBEYDA that RESSAM knew in
Pakistan/Afghanistan as "emir" of the Khalden Camp.

    
  
 

RESSAM had no information relative to the non-governmental
organization (NGO) identified as HUMAN CONCERN INTERNATIONAL, but
acknowledged that several NGOs are fronts for supporting terrorist
networks.

The following color photographs (unless otherwise specified
as black and white) were shown:

xX1:
MX2:
XX3:
MX4:
OS's
xX6:
xX7:
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xX10:
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Mx13:
xX14:!

 

11/29/2001 Seattle, Washington

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AHMED RESSAM 11/29/2001

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XX18:
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black/white photograph)

(black/white photograph)

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ZAYN HUSAYN,
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v. Civil Action No. 08-1360 (RWR)
ROBERT GATES,
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interview was conducted

The purpos
ESSAM about his associ and activiti in Canada.
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ever had any problems with the Algerian authorities

 

in Algeria.

 

 

never involved in slamic extremiem before
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Ahmed Ressarm 01/17/2002 2

which he had said that had influenced him je

extremism. RESSAM responded | he was influenced by from
a religious point of view. informed RESSAM more about the
Muslim religion.

RESSAM was never involved in criminal activity in Algeria.

RESSAM left Algerian due to living conditions being
Aa little bit hard@, unemployment and the unavailability of jobs.

RESSAM believed that his family is still living in Bou
Ismail, Algeria.

When asked to describe the different Abrethren® in Algeria,
RESSAM replied that he had no contact with Islamic groups in Algeria.

When asked what knowledge he had of these groups, RESSAM
stated that he did not ask about these groups while he was in Algeria.

RESSAM had heard of a group called AL FIS. RESSAM also
knew of a brotherhood movement called HAMAS, NAHNAH MAHFOUD, the
leader of HAMAS, is very well known in Algeria.

RESSAM was asked if he knew of the GIA, RESSAM stated
that he heard the GIA is a jihad movement that is fighting to establish
Islamic jurisprudence and an Islamic system. RESSAM stated that
the GIA=s main focus is to challenge the authorities and government
system in Algeria. RESSAM added that the GIA does not involve Canada.

When asked if he had heard about the GSPC, RESSAM stated
that he had heard about the GSPC, however, he did not know much about
it. RESSAM stated that the GSPC was a new movement. RESSAM also
stated that HATAB was a new movement .

RESSAM had never heard of EL BAQUOUN ALA EL AHD.

RESSAM stated that FIDA was the same organization as Al
FIS. FIDA did not succeed in the election and became a jihad movement.
RESSAM stated that this movement and all related to Al FIS ceased
in operatingd.

When questioned if any of the above noted groups had members
in Canada, RESSAM replied that he did not know,

RESSAM was asked if | P| and Were ers

of any of the above noted groups. RESSAM repli t does
not have contact with any of those a oups, that =G contact is
in Bosnia. RESSAM d know if has contacts in these groups.
RESSAM stated that had contacts in Ajama=ahe, however, after

1993-1994, | association stopped.

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stated that the Ajama=ah activity in Algeria
llapse in leadership in 1993-1994, however,
as to how specifically es Ajama=-ahi

   

 

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ever, if 10 Was a SNOre Bray, ne would sometimes stay
with med Ressam 01/17/2002 6

When RESSAM traveled to Vancouver, he would stay at the
Ambassador Hotel. On one occasion, RESSAM atayed at a;
residence.

RESSAM was asked if he had any contact with Algerian Embassy
officials during the time he resided in Canada. RESSAM stated that
he had never met with Algerian representatives while in Canada.
On one occasion, in approximately Septembe went to
iii nas: office with a friend boned Een (ph.) .

had a mental condition and needed to return to Algeria.

RESSAM was not aware of Algerian intelligence or government
officials approaching or harassing Algerian people in Canada.

RESSAM was questioned regarding the use of the following
code words:

1) Soccer players or teams. RESSAM replied that he had no knowledge
of the use of soccer players or teams as code words, however, numbers
could be used, although RESSAM did not know the purpose for which
these numbers would be used. RESSAM then said that sometimes the
name of Ajama=ah® would be associated with the name of a soccer team.
RESSAM explained that someone might say Ado you want to play soccer
with us?@ and it would mean Ado you want to join the jama=ah?9.
ADo you have the right shoes to play?@ would mean do you have the
proper documentation or paperwork to join.

RESSAM did not know if soccer players= numbers/names had
been used to pass information such as telephone numbers.

2) Meat. RESSAM had no knowledge of this being used as a code word.
3) Pasta. RESSAM had no knowledge of this being used as a code word.
4) Amana. RESSAM replied that this word was used to relate to security,
however, he did not know how it was specifically used. Amana has
two meanings in Arabic, one relates to security, and the other refers
to giving something to someone to take care of until you take it
back.

5) Kitab and Livret were used as code words for passports.

6) Tomatoes. RESSAM had no knowledge of this being used as a code
word,

7) Coffee. RESSAM had no knowledae of this being used as a code

word,

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Po had no knowledge or this being used as a code word.

Ahmed Ressam 01/17/2002 7
9) Sugar. RESSAM had no knowledge of this being used as a code word.

10) Marriage/Wedding. AGot married meant someone died.

11) Potatoes. RESSAM had no knowledge of this being used as a code
word.

RESSAM did not know any Afghanis living in Montreal.

RESSAM had no knowledge of mosques in Montreal that were
attended by Afghanis.

RESSAM did not know of any mosques in Canada which were
sending people to Afahanistan or to jihad.

RESSAM did not Know of anyone in Canada who was sending
people to jihad or training in Afghanistan.

RESSAM was asked how and to whom someone would go if they
wanted to go to Afahanistan from Montreal. RESSAM stated that it
would be through the mosque. The person would go to the mosque and
ask people about going to Afghanistan.

When asked if this méant people in the mosque were
organizing sending people to Afghanistan, RESSAM replied that you
might find someone at the mosque who can direct you to someone outside
the mosque who can do it.

RESSAM was then asked Athe mosque would not send people
to jihad or Afghanistan®? RESSAM replied that he was not aware of
the mosque itself sending people to jihad or Afghanistan, but perhaps
someone could go to the mosque to talk to people who could perform
such an act.

_RESSAM spoke to BE abou caine A and training

an. When questioned regarding e
to RESSAM=s residence at + —
oe who sent RESSAM to Afghanistan.

RESSAM had heard of INFO-ISLAM in Montreal. RESSAM was
shown a photograph of a store front, marked as photegraph #2, and
identified the store in the photograph as INFO-ISLAM. RESSAM
described INFO-ISLAM as an Islamic library/bookstore that selis books,
videos and audio tapes. RESSAM went to INFO-ISLAM to get books and
tapes. One of the books RESSAM purchased was titled

APerseverance/Patience® which was about obeying God and havin
perseverance and patience. RESSAM purchased tapes by dl

a Kuwaiti Sheikh who discussed purified/clear intentions.

RESSAM could not recall if he purchased books and tapes

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, however, IJorca puy some or tnese kinds of books
and tapesAbhed NR@sadabAM . 01/17/2002 a

RESSAM explained that tapes and books pertaining to jihad
come from Sheikhs all over the world. The Sheikhs= sermons are taped
and packaged for believers, i) is one such Sheikh.

RESSAM has seen tapes pertaining to Bosnia and Afghanistan.
RESSAM has also seen tapes showing jihad operations and some training.
RESSAM never purchased these kinds of tapes, but he knew they were
available, and ae ee bring them or borrow them from friends.
RESSAM did not know if these tapes came from INFO-ISLAM,.

RESSAM did not know if INFO-ISLAM asked for donations for
jihad.

RESSAM stated that an individual named sh) we}
at INFO-ISLAM. RESSAM was then shown a photograph of A
marked as photograph #3, and identified the individual int icture
as the person he knew as a. RESSAM believed that eae
and operated INFO-ISLAM. RESSAM did not know of a. relationship
with jihad.

A Filipino individual (NFI) also worked at INFO-ISLAM.

RESSAM did not know if INFO-ISLAM was involved in criminal
activity.

RESSAM was asked if he had any knowledge of other North
African groups from places such as Libya and Tunisia. RESSAM stated
AThe Fighting Group of Libya@ (TFGL) was a group whose purpose was
to fight the Libyan regime and establish an Islamic regime.

RESSAM had heard about TFGL in general and then heard more

about it while in Afghanistan. RESSAM knew people in Afghanistan
who were involved with TPGL. TFGL has their own camp in Afghanistan

ij , Libyans attended the camp. The Emir of the cam aos
ee one of the trainers at the camp was | rhe
camp was located on the outskirts of Jalalabad. RESSAM did not know
the name cf the camp and had no personal interaction with the camp.

Tunisians did not attend the TFGL camp.

RESSAM did not know cf anyone in Canada who was involved
with TFGL,

RESSAM had heard of the Tunisian Fighting Group (TFG).

While in Afghanistan, RESSAM heard the TFG=s main goal
is to overthrow the regime in Tunisia, The Emir of the TFG in
Afghanistan was a Tunisian who had been to Yemen, but RESSAM could
mot recall this individual=s name.

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re told tnat it was petrer ir tne telephone is not
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The trainees were told to use telephone booths with caution,
to avoid using the same booth, and to use booths located in places
where people cannot listen to their conversation.

When using a telephone booth, the individual would use money or a
phone card. The phone cards should be disposed of after their use.

RESSAM has heard of satellite telephones, but has never
used one. RESSAM heard of an Arab, from the United Arab Emirates,

at the camps in Afghanistan who was using one. RESSAM could not
recall this individual=s name. RESSAM never personally saw this
individual use the satellite telephone.

RESSAM was then questioned regarding instructions given
on the use of mail. RESSAM stated that you should not send mail
to someone who is under surveillance or suspicion. If you choose
to send mail to such an individual, you should try to use code and
send the mail to a place that is not under suspicion. RESSAM also
said you should use the name of a woman or use secret ink.

RESSAM never took a course on secret ink, but he heard
such a course exists. A chemical is used that makes it appear the
page is blank. Then a heat source, such as a lighter, is used to
heat up the paper and interacts with the chemical so that the writing
becomes visible.

RESSAM did not know specifically if secret ink was used
in Canada, however, he was aware of this method being used. RESSAM
did not know what chemical was used as part of this process. RESSAM
knew that different kinds of inks are used in the process.

RESSAM did not receive instruction on the use of couriers
such as UPS and FedEx.

RESSAM did not know of anyone in Montreal who used courier
services such as UPS and FedEx often.

The trainees did not receive training pertaining to the
use of e-mail. RESSAM did hear that if you used e-mail, you should
use codes.

When questioned regarding the use of internet cafes, RESSAM
stated that it was said it was good to use an external e-mail facility.

RESSAM did not know of anyone in Montreal who was really
good with computers.

Before RESSAM left for Afghanistan, no one knew RESSAM

Was returning to Canada and he did not tell anyone he was coming
back to Canada, While in Afghanistan, RESSAM did not call anyone

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group of individuals was chosen to receive chemical training. These
individuals were chosen based on their trustworthiness and their

desire/tendency to learn. However, the most important factor was
trustworthiness.

RESSAM did not know if there were any special sessions
of chemical training.

RESSAM was questioned about previous statements in which
he said Algerians and Arabs trained at different camps. Specifically,

RESSAM was asked if the training was different. RESSAM replied that
they all trained at Khaiden. At the end, there was an effort to

establish a separate camp, but this did not happen. Many
nationalities were all trained at the same camp.

Training at the camp included lectures and practical
applications. If the opportunity te do practical applications was
not available, then more theory would be covered.

Although the trainees were never given written manuals,
there were books available for reading. RESSAM did not know any
of the names of the authors of these books.

Some training related to the health and safety issues of
handling chemicals was provided. The trainees were taught such things
as wearing a face mask and gloves, and leaving clothes worn while
mixing chemicals at the mixing location and not placing them with
other clothes.

Training was also provided on the transportation of
chemicals, Students were told not to drop or shake highly explosive
chemicals, and instructed that it is better to dissolve the chemicals
in acetone for transport and then extract the chemicals after
transport.

RESSAM did not recall any scenarios regarding the use of
cyanide other than the previously discussed method of placing the
cyanide by air vents.

RESSAM stated that toxins other than cyanide were also
discussed but he could not recall the names of these toxins.

RESSAM did not recall being taught how to obtain cyanide
er other chemicals. RESSAM knows how to obtain explosive materials.

RESSAM was asked if issues such as wind and weather
affecting the use of things like cyanide were discussed. RESSAM

replied it would be used in a place where there was a vacuum and
no wind, such as a room with a door. RESSAM witnessed cyanide being

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ZAYN HUSAYN,
Petitioner,
v, Civil Action No. 08-1360 (RWR)

ROBERT GATES,

Respondent.

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thac RESSAM arrived and tfagiRESSAM was 2
fine FESSAM ref eo himself using the fake name “JAMAL"
when he spoke “| RESSAM did not teil WE chat RESSAM
wae in Pakistan. To the best of RESSAM's recollection, this was

the only instance that RESSAM had a message passed for him

ESSAM explained that RESSAM did not contact [nnn
house directly because RESSAM was aware that EE «.cu=- wag
being watched.

RESSAM i6 not aware if | had messages passed
for himself

RESSAM does not recall if he ever a: MEE eb ou:
training camps but RESSAM thinka cha: it a5 aware iat RESSAM
had attended training camps.

he time RESSAM letc eee to travel to Vancouver

prior to hi 5 ~atton, Be a 6 people in Canada,
eon Mr. a: a that RESSAM was
traveling to Toronto RESSAM explained tha t he did this to hide
his actual pians. RESSAM informed these people that RESSAM had

business to conduct in Toronto

RESSAM does nor know i: was involved in jihad in
Algeria or i. I 04 any involves k the brethren.
RESS aa OT Know anything abou a... ivities in France
or if d ever been arrested in France RESSAM does not
know if has ever trained in Afghanistan RESSAM explained
that he does not know very much about ai

RESSAM heard that had a brother in Algeria wh avolved
in jihad, but RES oes not know with which score Mn

brother is a ted. RESSAM does not know what type of
involvement brother has with jihad or the type of
training his Drother had attended outside of Algeria

RESSAM has no kno; 2 a
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During his time in Canada, RESSAM saw videos of jihad
raining and of preparation for operations. RESSAM recalled that

he saw some of these videos while he was at his Malicorne
apartment On one occasion, Paes a Video to RESSAM's

apartment. The video depicted training an rtions of an
Operation, but RESSAM does not know where BBB oo fre the
video. RESSAM stated that he could hear the sound of gunfire on
the video, RESSAM does not know who filme ed the video and RESSAM
does not know where the video is currently located

RESSAM advised that BE aiso saw the video that
| CO RESSAM's apartmenc. RESSAM does not know whd

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RESSAM hed also seen a different video in Canada wh

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RESSAM discussed his planned oper DA in
“general terms" while RESSAM was in Pakistan. 2ESSAM advised
that ZUBAYDA was aware that PESSAM's operation
conducted in the US RESSAM specifically that
RESSAM's target would be the US

RESSAM did not telephone ZUBAYDA from Canada to discus
the operation, but RESSAM did speak with ZUBAYDA by telephone
while RESSAM was in Canada to dis Pp Ort RESSAM
telephoned ZUBAYDA from pay telep t 1 and Vancouver

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RESSAM contacted Z

RESSAM stated that he and ZUBAYDA had "normal
conversations” and RESSAM wanted to see how ZUBAYDA was
RESSAM did not telephone ZUBAYDA te keep him apprised cf

 

preparations for his operation.

   

For a period of time in approximately che end of che
summer of 19599, RESSAN did not contact ZUBAYDA RESSAM
speci lated u, t wt time, ZUBAYDA may have been in contact
with ar Mw believes that during this time frame,
ZUBAY to find a computer for ZUBAYDA

  

RESSAM Ree eae that the last time he saw ZUBAYDA was in
the beginning of 1999, either January or February, in
Islamabad, Pakistan RESSAM does not remember wnat he and
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Copies of all of the photographs shown to RESSAM wil}

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ZAYN HUSAYN,
Petitioner,
v. Civil Action No. 08-1360 (RWR)
ROBERT GATES,

Respondent,

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Ressam 302 4/19/2002

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ZAYN HUSAYN,
Petitioner,
Vv Civil Action No, 08-1360 (RWR)
ROBERT GATES,

Respondent,

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Ressam 302 11/19/2002

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re also Feseived EralHing iW electronics as it
pertaine medxBéssaves. Such training was conslfi¢rad2apecialty 6

training and was not part of the normal training received at the
camps,

RESSAM was not certain which of the other individuals who
were present in Afqhanistan during the same time as him had received
electronics training.

RESSAM does not have skills pertaining to credit cards.

At a “Jod prior to RESSAM os i leaving for
Afghanistan, ME 2: steal credit cards from his place of
employment and then use the credit cards in Canada.

GM never send credit cards ta RESSAM for RESSAM to use
in Canada.

RESSAM was shown = ¢ ecu exhibit
IWN-53 containing the names and . RESSAM
could not recall if he had previously seen these names. RESSAM waa

not aware of any reason why individuals mentioned in this interview
would have been referred to by these names.

RESSAM could not recall if he had used female identities
for any reason. RESSAM could not recall if the training he had
received recommended using female identities.

RESSAM was asked to read a letter marked as exhibit JB-G/38
and then comment on it and say what he understood the letter to be.
RESSAM read the letter and stated that it was one person writing
to another, but he did not understand much of the letter.

RESSAM did not understand what the writer was asking of the recipient.
RESSAM did not know the individual AJARRY®S mentioned in the letter.
RESSAM believed that it was possible that the letter was coded.

RESSAM did not know if the letter and its possible coding was

consistent with the training he had received in Afghanistan.

When asked if the letter contained any names discussed
during this interview, RESSAM responded that the letter contained
the RESSAM did not know if this was a reference to
the discussed above. RESSAM did not know if a reference to
Athe land of the snow@ contained in the letter was significant.

RESSAM was not familiar with the names ::

mentioned in the letter.

RESSAM did not Know if the letter was a letter Acalling
the brothers together for some action®#.

RESSAM was shown a diagram referenced as Exhibit MA/3,

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reser was a-circuit diagram and then asked if it had any
amiLliar n@d RESBAM. RESSAM replied that the #idg@A@0@as an 7

electrical circuit. When asked if this diagram signified anything,
RESSAM replied Ayes, an electric circuit.@

RESSAM when then questioned about the purpose of such a
circuit. RESSAM replied that Ait would be used in the same method
as I used mine, for explosives.@

RESSAM stated that the portion on the diagram marked with

the number 2 circled refers to the way resistance works in a circuit.

RESSAM could not recall learning about the portion on the diagram
marked with the number 3 circled. RESSAM was not sure if he was
aware of what the sketch on the bottom of the diagram signified.

RESSAM received his training in circuits in Afghanistan.

When asked if trainees would receive hand-outs to take
with them once they left Afghanistan, or if trainees were required
to memorize the information, RESSAM replied that different people
did it in different ways. RESSAM took notes with him when he left
Afghanistan,

RESSAM believed that it was possible that someone who was
in possession of the above noted diagram had received training in
Afqhanistan.

RESSAM was shown photoaraph exhibit 7 (unidentified) which
contained two photographs of several males. RESSAM stated that he

beli i indivi in the top photograph wearing the blue jeans

a ia RESSAM believed
a nd as a result of all three residing
in England, as opposed to all three of the as spent _t ir
— RESSAM did not know how well ten ed

When shown photograph exhibit 8 (unidentified), RESSAM
replied that he did not know anyone in the depicted photographs.
Upon further questioning regarding the photographs, RESSAM responded
that the individual on the left side of the bottom photograph
resembled

   
  
    

When shown photograph exhibit 20 (unidentified), RESSAM
replied that he did not know anyone in the depicted photographs.
Upon further questioning regarding the photographs, RESSAM responded

that the individual on the right side of the bottom photoarapt
resembled the person whom he had previcusly identified as a.

While RESSAM and PE were in Khaldun Camp in

approximately April 1998, they did not discuss what
cperations either one might engage in after they left the camp.

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Before departing for Afghanistan, RESSAM was residing in

Montreal.

 

RESSAM was asked if he was the member of any organization
in Algeria, and repl that he has never been the member of any
organization.

RESSAM did not know if any of the members of his cell were
involved in any organizations in Algeria.

When RESSAM was asked what organization his cell Acame
under@, KESSAM replied that he did noc understand the question.
RESSAM was then asked if the cell was affiliated with any organization
akin to the GIA, to which he replied Ano.® RESSAM was then asked
if his cell was affiliated with any organization akin to the GSPC.
RESSAM replied that in the beginning there was no connection, but
later there were attempts to be connected to that group.

RESSAM was asked if the aims of his group were similar
to the aims of the GSPC, to which RESSAM responded Awhat are the
purposes of the GSPC?@. agi was told by a representativ
that the purpose of the GSPC the advancement of the Islamic position.

RESSAM replied that he knew a limited amount of information
pertaining to the GSPC. RESSAM stated that the main purpose of the
GSPC is to establish Shariah law in Algeria, however, he did not
know their purpose on an international scope.

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RESSAM did mot know if members of the GSPC trained with
him in Afghanistan,

RESSAM did mot know ap ving regarding the arrest of
ma. RESS learned about =8 arrest from the FBI. RESSAM
knew that arrested in England, however, he did not know
who was with when Was arrested,

(ESSAM did not Know anything about the arrest of | |

RESSAM did not know when Pe .2: arrested.
RESSAM was asked if it was correct to 6; —_
nned to come to Cariada but could not because had been

lan c i
rrested. RESSAM an" ied that this was not

i tl correct. RESSAM ao
coming to Canada but changed his mind.

and P| were the individuals who had been arrested,
RESSAM did not know where a 2: arrested.

    
 
   

  
 

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RESSAM did not recognize the followin

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On 6/18
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following information

of the Criminal Investigatior
Internment Serial Number (ISN)

Delta, Guantanamo Bay, Cuba g the interview Wag contact Lnsiist
in order to provide English to Arabic translation if needed was advised of

the identities of the interviewing agents and the purpose of the interview. He then provided the

Also present durin

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of the Federal Bureau of Investigation
) contacted
at Camp

 
    
 

is a twenty-seven year old Saudi Arabian national, He claims to have

been interviewed approximately fifteen times in Pakistan and Afghanistan by American authorities

his is his initial interview at Camp Delta

information

Name
DOB

POB
Height
Weight
Hair
Languages
Address

Telephone
Employment
Military
Education

Family
Father
Mother
Brother

 

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He then provided the following personal background

Jeddah, Saudi Arabia

4")

150 pounds
Black

Arabic. English

   
  
    
   

ino street number)

(Jeddah, Saudi Arabia)

NOnC

None
S and Engineering,

University,

Anzona, USA

(1998-2000)

ommunity College

Anzona, USA,

( -1998)

King Faud University,

Dammam, Saudi Arabia,

(1992-1997)

 
   
 
 

28 years old,

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